 Case: 0:07-cr-00015-DLB-EBA            Doc #: 211 Filed: 02/24/10     Page: 1 of 3 - Page
                                            ID#: 505



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

CRIMINAL ACTION NO. 07-15-DLB-4

UNITED STATES OF AMERICA                                                        PLAINTIFF


vs.                                            ORDER


TIMOTHY M. CHANDLEY                                                           DEFENDANT

                               *    *      *     *     *   *   *

       This matter is before the Court upon the Amended Report and Recommendation of

the United States Magistrate Judge wherein he recommends that the Court revoke

Defendant’s supervised release and impose a sentence of six (6) months imprisonment,

followed by thirty-six (36) months of supervised release. (Doc. #210). At a final revocation

hearing conducted by Magistrate Judge Atkins on January 27, 2010, the Defendant

stipulated to the violations described in the September 8, 2009 Probation Violation Report

and knowingly waived his right to allocation before the United States District Court prior to

final sentencing. The Court noting that the Defendant has not filed any objections to the

Magistrate Judge’s Report and Recommendation, and being otherwise sufficiently advised;

       IT IS ORDERED as follows:

       1.     The Amended Report and Recommendation (Doc. #210) is hereby

              ADOPTED as the findings of fact and conclusions of law of the Court;

       2.     Defendant is found to have VIOLATED the terms of his supervised release

              as described in the September 8, 2009 Probation Violation Report;

                                                 1
Case: 0:07-cr-00015-DLB-EBA     Doc #: 211 Filed: 02/24/10        Page: 2 of 3 - Page
                                    ID#: 506



    3.    Defendant’s supervised release is hereby REVOKED;

    4.    Defendant is sentenced to the CUSTODY of the Attorney General for a

          period of six (6) months, and a SUPERVISED RELEASE TERM of thirty-

          six (36) months is imposed upon release;

    5.    Upon release from incarceration, the Defendant is required to complete an

          inpatient drug rehabilitation program at a facility to be designated by the

          United States Probation Office;

    6.    While on supervised release the Defendant:

          a.    shall abstain from the use of alcohol;

          b.    shall refrain from the use or unlawful possession of a narcotic drug or

                other controlled substance defined in 21 U.S.C. § 802 unless

                prescribed by a licensed medical practitioner;

          c.    shall not obstruct or attempt to obstruct or tamper, in any fashion, with

                the efficiency and accuracy of any prohibited substance testing which

                is required as a condition of release; and

          d.    shall submit his person, residence and curtilage, office or vehicle to a

                search, upon the direction and discretion of the United States

                Probation Office.

    7.    A Judgment shall be entered concurrently herewith.




                                        2
 Case: 0:07-cr-00015-DLB-EBA                Doc #: 211 Filed: 02/24/10   Page: 3 of 3 - Page
                                                ID#: 507



        This 24th day of February, 2010.




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